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 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 MOTION OF DEFENDANTS NSO
                                                  GROUP TECHNOLOGIES LIMITED
13                Plaintiffs,                     AND Q CYBER TECHNOLOGIES
                                                  LIMITED FOR RECONSIDERATION OF
14         v.                                     DISCOVERY ORDER AND TO COMPEL
                                                  PRODUCTION OF DOCUMENTS DUE
15   NSO GROUP TECHNOLOGIES LIMITED               TO PLAINTIFFS’ FAILURE TO
     and Q CYBER TECHNOLOGIES LIMITED,            PROVIDE A PRIVILEGE LOG
16

17                Defendants.
                                                  Action Filed: 10/29/2019
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     DEF’TS’ MOT. FOR RECONSIDERATION                                 Case No. 4:19-cv-07123-PJH
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 1            Pursuant to this Court’s Order dated August 30, 2024 [Dkt. 372] and Civil L.R. 7-9(b)(1),

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (together,

 3   “NSO”) hereby move the Court to reconsider its August 27, 2024 Order [Dkt. 370] denying NSO’s

 4   request for relief concerning Plaintiffs’ failure to produce a privilege log. The Court denied NSO’s

 5   request as “moot” based on Plaintiffs’ representation that they would produce their privilege log

 6 before depositions of Plaintiffs’ witnesses began more than two weeks ago. Developments

 7   unknown to the Court on August 27 have proven Plaintiffs’ representation false. This “material

 8   difference in fact . . . from that which was presented to the Court” warrants reconsideration of the

 9   August 27 Order, and Plaintiffs’ inexplicable delay in providing their privilege log supports a

10   finding that they have waived their privilege objections. NSO therefore asks the Court to compel

11   Plaintiffs immediately to produce all documents and information heretofore withheld based on

12   assertions of privilege, work product protection, or similar immunity.

13   I.       BACKGROUND

14            NSO served its First Set of Requests for Production of Documents (“RFPs”) on Plaintiffs

15   nearly eighteen months ago, on March 8, 2023, and served additional sets of Requests for

16   Production of Documents on May 1, 2023, December 8, 2023, April 22, 2024, July 24, 2024, and

17   August 1, 2024. See Declaration of Aaron S. Craig (“Craig Decl.”), ¶ 3. Plaintiffs served

18   responses and objections to Defendants’ First RFPs on April 17, 2023, and served responses and

19   objections to NSO’s Second RFPs on May 31, 2023. Id., Exhs. A & B. Thereafter, Plaintiffs

20   served amended responses and objections to NSO’s First and Second RFPs on August 24, 2023,

21   and on September 8, 2023, Plaintiffs served second amended responses and objections to NSO’s

22   First and Second RFPs. Id., Exhs. C-F. Plaintiffs served responses and objections to NSO’s Third

23   RFPs on January 10, 2024, and served responses and objections to NSO’s Fourth RFPs on May

24   29, 2024. Id., Exhs. G & H.

25            Plaintiffs’ responses and objections to NSO’s RFPs include numerous boilerplate privilege

26   objections (see generally id., Exhs. A-H), and Plaintiffs have produced hundreds, if not thousands,

27   of documents with privilege redactions. See, e.g., Dkt. 359-3, Exh. 6. Recently, Plaintiffs also

28   clawed back documents previously produced, based on a belated privilege assertion. See Craig
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 1   Decl. Exh. I. But nearly eighteen months after NSO served its First RFPs and with one week and

 2   three days remaining in the fact discovery period for this case, Plaintiffs have never produced a

 3   privilege log or otherwise satisfied their burden under Federal Rule of Civil Procedure 26(b)(5) to

 4   “describe the nature of the documents, communications, or tangible things not produced or

 5   disclosed—and do so in a manner that, without revealing information itself privileged or protected,

 6   will enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5).

 7           By contrast, Defendants have produced a privilege log setting forth the very few (a total of

 8   4) documents redacted or withheld pursuant to the attorney-client privilege, despite Plaintiffs not

 9   having requested one. See Craig Decl. ¶ 13.

10           NSO raised Plaintiffs’ failure to provide a privilege log in a joint discovery letter brief filed

11   twelve weeks ago, on June 12, 2024. [Dkt. 306]. Therein, Plaintiffs told the Court that they would

12   be producing “a privilege log covering all documents from all custodians in the coming weeks.”

13 Id. at 5. Two months later, when Plaintiffs still had not produced the long-promised log, and with

14 the close of fact discovery rapidly approaching, NSO again brought the matter to the Court’s

15 attention and requested that the Court either order Plaintiffs to produce a privilege log within five

16 days or, alternatively, produce all documents (or portions of documents) withheld on the basis of

17 privilege. [Dkt. 359 at 3]. In the parties’ August 13, 2024, joint discovery letter brief addressing

18 that request, Plaintiffs falsely assured the Court that they would produce their privilege log “in
19 advance of the first deposition of one of Plaintiffs’ witnesses,” which was scheduled to proceed

20 the next day on August 14, 2024. Id. at 6; see also Dkt. 371.

21           Plaintiffs again failed to honor their commitment to produce the log in advance of the first

22 deposition of a Plaintiffs’ witness, and more than two weeks later (after NSO has completed

23 depositions of three of Plaintiffs’ witnesses), Plaintiffs still have yet to produce their log.

24           On August 30, 2024, the Court entered an Order granting NSO leave to file a motion for

25 reconsideration of its August 27, 2024 Order pursuant to Civil L.R. 7-9(b)(1). [Dkt. 372].

26 II.       ARGUMENT

27           Reconsideration of an order is appropriate where “a material difference in fact or law exists

28 from that which was presented to the Court before entry of the interlocutory order for which
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 1   reconsideration is sought.” Civil L.R. 7-9(b)(1). Here, Plaintiffs’ continued failure to produce a

 2 privilege log, despite repeated pledges to do so promptly, most recently in the parties’ August 13

 3 discovery letter, constitutes such a material difference in fact from that which was presented to the

 4 Court. The Court’s August 27 Order expressly relied on Plaintiffs’ representation as the basis for

 5 denying NSO’s request for relief [Dkt. 370 at 1], and subsequent events have shown that Plaintiffs’

 6   representation was false. Accordingly, good grounds exist for reconsideration of the Court’s

 7   August 27 Order. Further, the egregious circumstances here warrant a finding that Plaintiffs have

 8   waived their privilege objections and should be compelled to produce all documents and

 9   information heretofore withheld based assertions of privilege, work product, or similar immunity.

10          Rule 26(b)(5) provides that a party withholding information under a claim that it is

11   privileged or subject to protection as trial preparation material must: (i) expressly make the claim;

12   and (ii) describe the nature of the documents, communications, or tangible things not produced or

13   disclosed in a manner that, without revealing information itself privileged or protected, will enable

14   the parties to assess the claim. See Fed. R. Civ. Proc. 26(b)(5). Boilerplate assertions of privilege

15   do not satisfy this requirement. See Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Court, 408

16   F.3d 1142, 1148-49 (9th Cir. 2005). Ninth Circuit law instead requires a privilege log identifying,

17   for each document withheld or redacted, (a) the privilege asserted, “(b) the nature of the document,

18   (c) all persons or entities shown on the document to have received or sent the document, (d) all

19   persons or entities known to have been furnished the document or informed of its substance, and

20   (e) the date the document was generated, prepared, or dated.” Apple Inc. v. Samsung Elecs. Co.,

21   306 F.R.D. 234, 238 (N.D. Cal. 2015).

22          Failure to produce a timely privilege log may result in waiver. See Burlington N., 408 F.3d

23   at 1149-50 (affirming waiver where party produced a privilege log five months after deadline to

24   respond or object to requests for production); Porter v. City and County of San Francisco, 2018

25   WL 4215602, at *6-7 (N.D. Cal. Sept. 5, 2018) (same). In assessing whether a failure to timely

26   produce a privilege log warrants waiver of privilege objections, the Ninth Circuit instructs courts

27   to consider the following factors: (1) “the degree to which the objection or assertion of privilege

28   enables the litigant seeking discovery and the court to evaluate whether each of the withheld
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 1   documents is privileged”; (2) “the timeliness of the objection and accompanying information about

 2   the withheld documents”; (3) “the magnitude of the document production”; and 4) “other particular

 3   circumstances of the litigation that make responding to discovery unusually easy ... or unusually

 4   hard.” Burlington N., 408 F.3d at 1149. Here, consideration of those factors strongly supports a

 5 finding that Plaintiffs have waived their privilege objections.

 6          First, as in Burlington N. and Porter, Plaintiffs have asserted only boilerplate privilege

 7   objections that do not come close to satisfying the Ninth Circuit’s requirements for privilege logs

 8   and leaves NSO and the Court unable to meaningfully evaluate Plaintiffs’ privilege claims. This

 9   supports a finding of waiver. See Burlington N., 408 F.3d at 1148-49; Porter, 2018 WL 4215602,

10   at *6. Second, the extent of Plaintiffs’ delay in providing a log—Plaintiff served objections to

11   NSO’s Third RFPs over seven months ago and served objections to NSO’s First and Second RFPs

12   more than one year ago—warrants a waiver finding. See Burlington N., 408 F.3d at 1149-50 (five-

13 month delay in providing log supported waiver); Porter, 2018 WL 4215602, at *6 (same). Here,

14 where just ten days remain in the fact discovery period, and NSO has already completed

15 depositions of multiple Plaintiffs’ fact witnesses, the prejudice to NSO from Plaintiffs’

16 inexplicable delay is especially acute. Third, there is no suggestion that either the magnitude of

17 Plaintiffs’ document production or any other particular circumstances of this case have made it

18 unduly burdensome for Plaintiffs to produce a timely log. Plaintiffs have had more than five years
19 since the events set forth in the Complaint to assemble and produce their documents—more than

20 ample time to have prepared and served a privilege log. In the absence of such mitigating

21 circumstances, sophisticated parties such as Plaintiffs are presumed able to timely provide a log,

22 and their failure to do so may result in a finding of waiver. See Burlington N., 408 F.3d at 1149-

23 50. If Plaintiffs perceived difficulties in timely producing their log, they should have sought relief

24   accordingly. Porter, 2018 WL 4215602, at *6 (finding party’s failure to seek such relief undercut

25   any suggestion that “particular circumstances of the litigation [made] responding to discovery . . .

26   unusually hard”).

27          Not only have Plaintiffs failed to articulate any reason why they would be unable to timely

28   produce a log, Plaintiffs have repeatedly, and falsely, represented to NSO and the Court that a log
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 1   was imminently forthcoming. See Dkt. 306 at 5 (stating, on June 12, 2024, that Plaintiffs would

 2   be producing “a privilege log covering all documents from all custodians in the coming weeks”);

 3   Dkt. 360 at 6 (stating that Plaintiffs would produce their log in advance of a deposition which

 4   proceeded the following day). Plaintiffs’ serial failure to honor their commitments to NSO and

 5   the Court further warrants a finding that Plaintiffs have waived their privilege objections. Cf. Loop

 6   AI Labs Inc. v. Gatti, 2016 WL 2908415, at *3 (N.D. Cal. May 13, 2016) (finding waiver where a

 7   party repeatedly failed to provide an adequate privilege log).

 8   III.   CONCLUSION

 9          For the foregoing reasons, NSO respectfully asks the Court to rule that Plaintiffs have

10   waived their privilege objections and to compel Plaintiffs immediately to produce all documents

11   and information heretofore withheld based on claims of privilege, work product protection, or

12   other similar immunity.

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     DATED: September 3, 2024                          KING & SPALDING LLP
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16                                                     By: /s/ Joseph N. Akrotirianakis _________
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19                                                         CYBER TECHNOLOGIES LIMITED
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